Case 2:04-cv-02144-.]DB-dkv Document 20 Filed 06/21/05 Page 1 of 2 Page|D 27

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WESTERN DISTRICT OF TENNESSEE

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M. sTANLEY sHIPP, ) CLEF m h
Plaimiff, ) W.D. sIo<§c `%N.` Misi;bgr§
)
vs. ) No. 04-2144 Bv
)
)
UNITED sTATEs oF AMERICA, )
Defendants. )

 

ORDER EXTENDING 'I`IME TO RESPOND TO DEFENDANT’S MOTION TO
DISMISS OR IN THE ALTERNA'I`IVE, MO'I`ION FOR SUMMARY JUDGMENT

 

Before the Court is Plaintiff’s Motion for Extension of Time to Respond to
Defendant’s Motion to Dismiss or in the Alternative, Motion for Summary Judgrnent.
Good cause having been shown, the Court hereby GRANTS the motion and extends the
time to respond for an additional fifteen (15) days B'om .Tune 20, 2005.

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ENTERED this &l_ day of June 2005.

 

QSjISTRICT JUI)GE \

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 20 in
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Honorable .1. Breen
US DISTRICT COURT

